                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 UNITED STATES OF AMERICA,                         )
                                                   )
                        Plaintiff,                 )
                                                   )
 v.                                                )              No. 3:03-CR-101
                                                   )              (JARVIS/GUYTON)
 VICTOR CRUZ,                                      )
                                                   )
                        Defendant.                 )


                                       PRETRIAL ORDER


                This action came before the Court pursuant to a telephone conference on

 November 10, 2005 in which Hugh B. Ward, Jr. as counsel for the government and Patrick

 Phillips as counsel for the defendant, indicated that this Pretrial Order could be entered without

 the necessity of a formal hearing or pretrial conference.

                                                  I.

                There are no pending motions in this case.

                                                 II.

                Trial procedures to be followed in this case are as follows:

                (a) Jury Selection. The Court will conduct a preliminary voir dire examination

 of the jury, and then counsel will be permitted to conduct voir dire examination. The Court

 reserves the right to interrupt counsel and conduct voir dire on its own if counsel ask improper

 questions or if the proceedings are unnecessarily prolongated.




Case 3:03-cr-00101-RLJ-HBG           Document 894        Filed 11/14/05        Page 1 of 3    PageID
                                           #: 405
                 (b) Peremptory Challenges. Under Fed. R. Crim. P. 24(b)(2), the defendant is

 entitled to ten peremptory challenges and the government is entitled to six.

                 (c) Novel Legal Issues for the Court. No novel or unusual legal issues were

 identified as of the time of the pretrial conference.

                 (d) Novel Evidentiary Issues for the Court. No novel or unusual evidentiary

 problems were identified as of the time of the pretrial conference.

                 (e) Special Requests for Jury Instructions. If counsel have any special requests

 for instructions to the jury, the same shall be filed at least five (5) working days before trial.

                 (f) Additional Motions. No more motions, other than motions in limine, will be

 allowed to be filed in this cause of action by either side without prior leave of Court to do so,

 since the motion cut-off date has passed. All motions in limine must be filed at least five (5)

 working days before trial. Responses to motions in limine are due at least two (2) working days

 before trial.

                 (g) Admissions and Stipulations. Counsel should meet in advance of trial and

 carefully review the trial exhibits with a view toward stipulating the admissibility of as many

 exhibits as possible. Any admissions and stipulations of fact to be used at trial shall be signed by

 Defendant’s attorney and the Defendant and filed at least five (5) working days before trial.

                 (h) Courtroom Decorum. Counsel are encouraged to familiarize themselves

 with Local Rule 83.3 and ensure that their clients are familiar with the contents of this rule.




                                                    2


Case 3:03-cr-00101-RLJ-HBG            Document 894         Filed 11/14/05       Page 2 of 3      PageID
                                            #: 406
                                               III.

               This case will be set for trial before the Honorable James H. Jarvis and a jury, to

 commence at 9:00 a.m. on December 1, 2005.

               If counsel have any objections to this Pretrial Order, such objection should be

 taken up pursuant to Local Rule 72.4(b), EDTN.

               IT IS SO ORDERED.

                                              ENTER:


                                                    s/ H. Bruce Guyton
                                              United States Magistrate Judge




                                                 3


Case 3:03-cr-00101-RLJ-HBG          Document 894        Filed 11/14/05      Page 3 of 3      PageID
                                          #: 407
